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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division

     In re PASTOR JERRY ONOCHIE CHIDI:
           MAUREEN NWAKUSO CHIDI:
           Debtors                 :                         Case No. 21-11280
     ______________________________:                         Chapter 13

       MOTION TO EXTEND TIME FOR FILING OF MISSING DOCUMENTS

           COMES NOW, PASTOR JERRY ONOCHIE CHIDI and MAUREEN

     NWAKUSO CHIDI, by counsel, and represent to the Court as follows:

           1. Debtor filed a petition for an order for relief under Chapter 13 of

     the Bankruptcy Code on July 21, 2021, and a Chapter 13 order for relief

     was granted.

           2. The debtor requires additional time in which to prepare Schedules A-

     J, the Statement of Financial Affairs, the Chapter 13 Plan and the Chapter 13

     Statement of Current Monthly Income and Disposable Income Calculation.

           WHERFORE, debtor prays for an order extending the time for filing the

     missing documents in this chapter 13 case.

     Date: August 2, 2021
                                                      /s/ Nathan Fisher
                                                      Nathan Fisher
                                                      Fisher-Sandler, LLC
                                                      Counsel for Debtor - #37161
                                                      3977 Chain Bridge Rd., #2
                                                      Fairfax, VA 22042
                                                      (703) 691-1642
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                             CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 2nd day of August, 2021, I served
     the foregoing parties on the attached mailing matrix, via first-class mail,
     under Local Rule 4001(a)-1(E)(1), and, also:

     Thomas Gorman
     300 N. Washington St., Suite 400
     Alexandria, VA 22314

     Office of the US Trustee
     1725 South Union St., Suite 650
     Alexandria, VA 22314


                                                     /s/ Nathan Fisher
                                                     Nathan Fisher
